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                                    713




                             Exhibit P
10/8/24, 1:26 Case
              AM   2:24-cv-00572-JRG             Document 41-27
                                                      San Diego,       Filed 10/28/24
                                                                 CA to Marshall,                 Page 2 of 2 PageID #:
                                                                                 Texas - Google Maps
                                                              714
                                San Diego, CA to Marshall, Texas                               Drive 1,509 miles, 21 hr 46 min




                                                                                    Map data ©2024 Google, INEGI   100 mi



             via I-10 E and I-20 E
              Fastest route now, avoids road
                                                       21 hr 46 min
                                                       1,509 miles
              closures
                 Your destination is in a different time zone.


             via I-40 E                              23 hr 24 min
                                                          1,565 miles




     Explore new places along this route
     Add suggested stops




https://www.google.com/maps/dir/San+Diego,+CA/Marshall,+Texas/@33.1725099,-111.0626881,6z/data=!3m1!4b1!4m14!4m13!1m5!1m1!1s0x80d953…   1/1
